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11
                              UNITED STATES DISTRICT COURT
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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14    EMPYREAL ENTERPRISES dba                    No. CV 22-0094 JWH (SHK)
      EMPYREAL LOGISTICS,
15                                                FEDERAL DEFENDANTS’
                 Plaintiff,                       OPPOSITION TO PLAINTIFF’S
16                                                APPLICATION FOR TEMPORARY
                        v.                        RESTRAINING ORDER;
17                                                MEMORANDUM IN SUPPORT; AND
      UNITED STATES OF AMERICA ET                 DECLARATION OF COUNSEL
18    AL.,
                                                  No Hearing Set
19               Defendants
20                                                Honorable John W. Holcomb
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 1                                      OPPOSITION
 2           Federal Defendants, by and through undersigned counsel, hereby oppose
 3    Plaintiff’s Application for Temporary Restraining Order. The following memorandum is
 4    submitted in support of the Defendants’ opposition.
 5                 MEMORANDUM IN SUPPORT OF OPPOSITION
 6    I.     INTRODUCTION
 7           Plaintiff has not properly served the complaint or the application for temporary
 8    restraining order (“TRO”) on the Federal Defendants. Plaintiff admits to making no
 9    attempt to speak with anyone in the U.S. Attorney’s Office in advance of the filing to
10    discuss the claims and possible resolution. Declaration of David Bass, (“Bass Dec.), ¶ 6.
11    Instead, Plaintiff emailed copies of the complaint, the application, two declarations and
12    proposed order to a general email box in the late afternoon on the Friday before a long
13    holiday weekend. See Osinoff Declaration, ¶¶ 4-5, attached hereto and submitted
14    herewith. As demonstrated herein, Plaintiff has failed to meet the legal standards
15    required for the issuance of a TRO and thus, the application for TRO should be denied.
16     II.   LEGAL STANDARD
17           A TRO is “an extraordinary remedy that may only be awarded upon a clear
18    showing that the Petitioner is entitled to such relief.” Winter v. Nat. Res. Def. Council,
19    Inc., 555 U.S. 7, 24 (2008). For a TRO to issue, the moving party must demonstrate (1)
20    that he is likely to succeed on the merits, (2) that he is likely to suffer irreparable harm in
21    the absence of preliminary relief, (3) that the balance of equities tips in his favor, and (4)
22    that an injunction is in the public interest. See id. at 20. “In exercising their sound
23    discretion, courts of equity should pay particular regard for the public consequences in
24    employing the extraordinary remedy of injunction.” Id. at 24 (citation and internal
25    quotation marks omitted).
26           An injunction is “unavailable absent a showing of irreparable injury, a
27    requirement that cannot be met where there is no showing of any real or immediate
28    threat that the Petitioner will be wronged [] – a ‘likelihood of substantial and immediate
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 1    irreparable injury.’” Los Angeles v. Lyons, 461 U.S. 95, 111 (1983). A district court
 2    should enter a preliminary injunction only “upon a clear showing that the [movant] is
 3    entitled to such relief.” Winter, 555 U.S. at 22.
 4           The purpose of a TRO is to preserve the status quo. Here, Plaintiff does not seek
 5    to preserve the status quo but rather to essentially decide the dispute at its inception via
 6    an ex parte application for TRO. Such relief is especially disfavored. See Granny Goose
 7    Foods, Inc. v. Teamsters, 415 U.S. 423, 438–39 (1974) (noting that TROs “should be
 8    restricted to serving their underlying purpose of preserving the status quo and preventing
 9    irreparable harm just so long as is necessary to hold a hearing, and no longer”); Reno Air
10    Racing Ass’n., Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006) (noting that “courts
11    have recognized very few circumstances justifying the issuance of an ex parte TRO”);
12    Anderson v. United States, 612 F.2d 1112, 1114 (1979) (“[m]andatory preliminary relief,
13    which goes well beyond simply maintaining the status quo pendente lite, is particularly
14    disfavored, and should not be issued unless the facts and law clearly favor the moving
15    party”).
16           A temporary restraining order, as a form of preliminary injunctive relief, “is an
17    extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is
18    entitled to such relief.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22 (2008).
19    The moving party has the burden of persuasion. Hill v. McDonough, 547 U.S. 573, 584
20    (2006).
21    III.   PLAINTIFF HAS FAILED TO MEET HIS BURDEN
22           The standard for issuing a temporary restraining order (“TRO”) and issuing a
23    preliminary injunction are substantially identical. Stuhlbarg Int’l Sales Co., Inc. v. John
24    D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). Either is “an extraordinary
25    remedy that may only be awarded upon a clear showing that the Petitioner is entitled to
26    such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).
27           Plaintiff has failed to establish any of the factors required for the issuance of a
28    TRO. It has failed to establish that the likelihood of success on the merits, that it will
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 1    suffer immediate and irreparable harm in the absence of preliminary relief, that the
 2    balance of equities tips in its favor, or that an injunction is in the public interest.
 3          A.     Plaintiff Lacks Standing to Assert Constitutional Claims
 4          Article III of the Constitution confines the federal courts to adjudicating cases and
 5    controversies. Accordingly, Plaintiff must show: (i) an “injury in fact,” consisting of “an
 6    invasion of a legally protected interest which is (a) concrete and particularized, and (b)
 7    actual or imminent, not conjectural or hypothetical;” (ii) “a causal connection between
 8    the injury and the conduct complained of;” and (iii) that it is “likely, as opposed to
 9    merely speculative, that the injury will be redressed by a favorable decision.” Lujan v.
10    Defenders of Wildlife, 504 U.S. 555, 561 (1992).
11          “No principle is more fundamental to the judiciary’s proper role in our system of
12    government than the constitutional limitation of federal-court jurisdiction to actual cases
13    or controversies.” Raines v. Byrd, 521 U.S. 811, 818 (1997). That is because the
14    standing doctrine “‘serves to prevent the judicial process from being used to usurp the
15    powers of the political branches.’” Hollingsworth v. Perry, 133 S. Ct. 2652, 2661
16    (2013).
17          Importantly, where, as here, the relief sought is prospective relief only, a plaintiff
18    must demonstrate a risk of future injury that is both “real” and “immediate” and neither
19    “conjectural” nor “hypothetical.” City of Los Angeles v. Lyons, 461 U.S. 95, 102-03
20    (1983). Thus, a plaintiff seeking forward-looking relief bears the burden of proving the
21    existence of a future “‘threatened injury [that is] certainly impending.’” Clapper v.
22    Amnesty Int’l USA, 568 U.S. 398, 401 (2013) (quoting Whitmore v. Arkansas, 495 U.S.
23    149, 158 (1990)). And a risk of injury is not the same as proving the injury.
24          The injury alleged is the November and December 2021 seizures of over $1
25    million dollars by the San Bernardino Sheriff’s Department which was allegedly
26    transferred to the FBI. But Plaintiff is a transport service; it is not the owner of the
27    monies seized. The monies seized were from its customers, marijuana dispensaries,
28    restaurants and other businesses. Accordingly, the injury, if any, rests with the owners of
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 1    the currency who are not plaintiffs in this action. Moreover, Plaintiff has presented no
 2    evidence whatsoever that demonstrates a risk of future injury that is both “real” and
 3    “immediate.”
 4          Plaintiff lacks standing as well for the Fifth Amendment challenge on the same
 5    basis. Plaintiff’s allegations are generalized and unsupported.
 6          Plaintiff also argues that the stops and seizures within California were politically
 7    motivated for financial gain, referencing the equitable sharing program and an
 8    appropriations rider which Plaintiff claims prohibits the use of funds to interfere with
 9    state medical cannabis laws. Even if Plaintiff’s claims of prohibited use of appropriated
10    funds were accurate, and Defendants assert they are not, Plaintiff’s claims are belied by
11    Plaintiff’s own admission that not all monies carried in its vehicles were from
12    exclusively medical marijuana dispensaries. See O’Gorman Dec. ¶ 31. Moreover,
13    Plaintiff’s claims of political motivation are speculative and unsupported. 1
14          The legality of asset forfeiture, specifically the equitable sharing program which
15    Plaintiff attacks, has long been upheld. Bennis v. Michigan, 516 U.S. 442 (1996)
16    (forfeiture is not a “taking” within meaning of the Fifth Amendment); McCutchen v.
17    United States, 145 Fed. Cl. 42, 51 (Fed. Cl. 2019) (“There are certain exercises of the
18    police power that have repeatedly been treated as legitimate even in the absence of
19    compensation to the owners of the property. Among these are government actions taken
20    to require the forfeiture of property used in connection with criminal activity”); United
21    States v. Segal, 432 F.3d 767, 779 (7th Cir. 2005) (following Bennis; criminal forfeiture
22    is not a “taking” under Takings Clause); United States v. $7,999 in U.S. Currency, 170
23    F.3d 843, 845 (8th Cir. 1999) (civil forfeiture does not violate Takings Clause; it is an
24    exercise of the police power; following Bennis); The authority to seize property does not
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26          1
               In multiple paragraphs, the declarations of O’Gorman and Bass refer to
      unspecified “information provided to me.” Defendants object to the O’Gorman and Bass
27    declarations on grounds of lack of foundation and hearsay. See Fed.R.Ev. 602, 603, 801,
      802, 805; Bank Melli Iran v. Pahlavi, 58 F.3d 1406, 1412-13 (9th Cir. 1995) (a
28    declaration of an attorney must establish personal knowledge, not knowledge based on
      hearsay). The declarations are deficient and inadmissible.
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 1    rest on the equitable sharing program. USA v. 434 Main Street, Tewksbury, Mass., 862
 2    F.Supp.2d 24 (D. Mass. 2012).
 3          A TRO should not issue where the civil forfeiture process provides an available
 4    remedy for Plaintiff for the return of the seized monies, a remedy that Plaintiff is
 5    obviously familiar with and already employing in Kansas. Plaintiff is a claimant in a
 6    pending civil forfeiture action in Kansas seeking the return of monies. 2 Thus, seeking
 7    relief in this Court is duplicative and amounts to forum shopping, which is not proper.
 8          Plaintiff’s TRO application is similar to a Rule 41 motion or complaint which asks
 9    a court to exercise its equitable power to return seized property. Rule 41 motions are
10    generally denied as the civil forfeiture process provides an adequate remedy at law. The
11    same is true here. Civil forfeiture proceedings provide plaintiff a means of challenging
12    the seizure and recovering seized property. United States v. U.S. Currency $83,310.78,
13    851 F.2d 1231, 1235 (9th Cir. 1988) (upholding dismissal of Rule 41 motion filed before
14    civil forfeiture proceedings were commenced, reasoning that equitable remedy not
15    needed where civil forfeiture proceeding would allow claimant to challenge Fourth
16    Amendment violation). That is the process that Plaintiff should be invoking.
17          For the reasons stated above, Plaintiff cannot and has not demonstrated the
18    likelihood of success on the merits and the application for TRO should be denied.
19          B.     Plaintiff Fails to Establish That It Will Suffer Irreparable Harm Absent the
20    Issuance of a TRO
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                Plaintiff is actively engaged in litigation seeking the return of the monies
23    collected from marijuana dispensaries Kansas City and bound for a Colorado credit
      union in the pending civil forfeiture action. See United States of America v. $165,620.00
24    in United States Currency, 6:2021-cv-01215-HLT-KGG (D. Kansas, complaint filed
      9/3/2021) (ECF #1)(copy attached for the convenience of the Court). The Kansas district
25    court issued a warrant in rem and ruled that there was probable cause to seize the money.
      Id., ECF #3 (copy attached for the convenience of the Court). The Court can take judicial
26    notice of these filings. See also
      https://www.bizjournals.com/kansascity/news/2021/10/25/kansas-sheriff-seizes-cash-
27    misssouri-dispensaries.html and https://www.usnews.com/news/best-
      states/kansas/articles/2021-10-27/company-challenges-seizure-of-marijuana-proceeds-
28    in-kansas. https://www.usnews.com/news/best-states/kansas/articles/2021-10-
      27/company-challenges-seizure-of-marijuana-proceeds-in-kansas.
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 1          The Supreme Court’s “frequently reiterated standard requires plaintiffs seeking
 2    preliminary relief to demonstrate that irreparable injury is likely in the absence of an
 3    injunction.” Winter, 555 U.S. at 22. “Issuing a preliminary injunction based only on a
 4    possibility of irreparable harm is inconsistent with our characterization of injunctive
 5    relief as an extraordinary remedy that may only be awarded upon a clear showing that
 6    the plaintiff is entitled to such relief.” Id. Conclusory or speculative allegations are not
 7    enough to establish a likelihood of irreparable harm. Herb Reed Enters., LLC v. Florida
 8    Entm’t Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir. 2013); see also Caribbean Marine
 9    Servs. Co. v. Baldrige, 844 F.2d 668, 674 (9th Cir. 1988) (“Speculative injury does not
10    constitute irreparable injury sufficient to warrant granting a preliminary injunction.”);
11    Am. Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985)
12    (finding irreparable harm not established by statements that “are conclusory and without
13    sufficient support in facts”). Moreover, the threat of a likely injury must be “immediate.”
14    See Caribbean Marine Servs. Co., 844 F.2d at 674.
15          Here, in the O’Gorman declaration, Plaintiff alleges primarily that it has suffered
16    monetary losses. Money losses do not constitute immediate and irreparable harm. The
17    other alleged losses in the declaration are also monetary and speculative. For example,
18    Plaintiff claims that it expects to lose business opportunities and investors due to the
19    Kansas seizure and the two stops in California. Plaintiff’s claim is speculative by its own
20    description. Plaintiff claims that it is losing rents on its facility, but the building has not
21    been disturbed by the Federal Defendants; it is available for Plaintiff’s use. Plaintiff also
22    claims projected losses if its operations are suspended, but Plaintiff’s operations have not
23    been stopped or suspended by the Federal Defendants. Plaintiff by its own admissions is
24    re-routing its drivers. Conclusory arguments fail to establish that Plaintiff will suffer
25    irreparable harm in the absence of a TRO. See Herb Reed, 736 F.3d at 1250. Plaintiff’s
26    claim of future injury is hypothetical and based on a conjectural injury it has not suffered
27    and may never suffer. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013)
28    (finding standing based on fear, even one that is reasonable, “improperly waters down
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 1    the fundamental requirements of Article III.”).
 2    ///
 3          C.     Balance of the Equities and the Public Interest Support Denial of the TRO
 4          It is well-settled that the public has a significant interest in the enforcement of
 5    criminal laws of the United States. “There are certain exercises of the police power “that
 6    ha[ve] repeatedly been treated as legitimate even in the absence of compensation to the
 7    owners of the ... property.” [citing Acadia Tech., Inc. v. United States, 458 F.3d 1327,
 8    1332-33 (Fed. Cir. 2006)]. Among these are government actions taken to enforce
 9    prohibitions on the use or possession of dangerous contraband, or to require the
10    forfeiture of property used in connection with criminal activity. See e.g., Bennis v.
11    Michigan, 516 U.S. 442, 453, 116 S.Ct. 994, 134 L.Ed.2d 68 (1996) (holding that the
12    forfeiture of an innocent owner's property that was used in a crime was not a taking).”
13    McCutchen v. United States, 145 Fed. Cl. 42, 51 (2019), aff'd on other grounds, 14 F.4th
14    1355 (Fed. Cir. 2021). Even if Plaintiff could show irreparable harm, it is outweighed by
15    the public interest.
16    IV.   CONCLUSION
17          Plaintiff has failed to meet its heavy burden to establish that it is entitled to the
18    extraordinary relief of a temporary restraining order. Therefore, the Court should deny
19    Plaintiff’s application for a temporary restraining order.
20     Dated: January 15, 2021                    Respectfully submitted,
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